                     Case 8:16-bk-09932-RCT                    Doc 61         Filed 08/10/18           Page 1 of 17
                                           UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                   TAMPA DIVISION

              In re: HERNANDEZ, DAVID JUSTO                                                     § Case No. 8:16-bk-09932-RCT
                     HERNANDEZ, IRENE                                                           §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on November 21, 2016. The undersigned trustee was appointed on November 22, 2016.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                29,400.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                           15,314.98
                                    Administrative expenses                                           8,786.89
                                    Bank service fees                                                   345.12
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                         0.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $                  4,953.01
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
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               6. The deadline for filing non-governmental claims in this case was 04/07/2017
       and the deadline for filing governmental claims was 05/20/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $3,300.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $2,787.19 as interim compensation and now requests the
       sum of $512.81, for a total compensation of $3,300.00. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $5.86
       and now requests reimbursement for expenses of $76.19, for total expenses of
              2
       $82.05.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 07/09/2018                    By: /s/DAWN A. CARAPELLA
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
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                                                                                                                                                              Exhibit A


                                                                         Form 1                                                                               Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 8:16-bk-09932-RCT                                                   Trustee:        (290520)     DAWN A. CARAPELLA
Case Name:         HERNANDEZ, DAVID JUSTO                                        Filed (f) or Converted (c): 11/21/16 (f)
                   HERNANDEZ, IRENE                                              §341(a) Meeting Date:        12/20/16
Period Ending: 07/09/18                                                          Claims Bar Date:             04/07/17

                                 1                               2                          3                      4                 5                   6

                    Asset Description                         Petition/            Estimated Net Value         Property         Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled       (Value Determined By Trustee,   Abandoned         Received by      Administered (FA)/
                                                               Values            Less Liens, Exemptions,      OA=§554(a)         the Estate       Gross Value of
Ref. #                                                                               and Other Costs)                                            Remaining Assets

 1       1811 N. Riverhills Dr., Tampa, FL 33617-0000, Hi      179,000.00                           0.00                             22,500.00                    FA
           Imported from original petition Doc# 1

 2       Cash                                                        100.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 3       Checking business account: Bank of America accou            190.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 4       checking: Bank of America, Checking, personal               105.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 5       All 8 years old. Living room: couch, 2 tables,,         1,300.00                           0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 6       copy machine                                                 25.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 7       Leaving in house : Table w/6 chairs, cabinet, ch        1,000.00                       1,000.00                                  0.00                    FA
           Imported from original petition Doc# 1

 8       20 shirts, 7 pair pants, 4 pair shoes, suit, tie            100.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

 9       14 blouses, 10 pair pants, 8 pair shoes, 4 jacke            125.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

10       watch, ring, chain, medal                                   200.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

11       watch, 2 rings, earrings                                    200.00                      200.00                                   0.00                    FA
           Imported from original petition Doc# 1

12       Int. in Ins. policies: Principal Life Term $300,              0.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

13       Int. in Ins. policies: Principal Life $50,000 te              0.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

14       David Hernandez Financial Services Inc., 100% ow              0.00                         0.00         OA                       0.00                    FA
           Imported from original petition Doc# 1

15       VOID: DUPLICATE OF ASSET 14                                   0.00                         0.00                                  0.00                    FA
           Imported from original petition Doc# 1

16       VOID: DUPLICATE OF ASSET 14                             Unknown                            0.00                                  0.00                    FA
           Imported from original petition Doc# 1


                                                                                                                               Printed: 07/09/2018 04:20 PM   V.14.03
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                                                                                      Form 1                                                                                   Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 8:16-bk-09932-RCT                                                                    Trustee:        (290520)    DAWN A. CARAPELLA
Case Name:         HERNANDEZ, DAVID JUSTO                                                         Filed (f) or Converted (c): 11/21/16 (f)
                   HERNANDEZ, IRENE                                                               §341(a) Meeting Date:       12/20/16
Period Ending: 07/09/18                                                                           Claims Bar Date:            04/07/17

                                1                                             2                              3                        4               5                   6

                     Asset Description                                   Petition/              Estimated Net Value            Property          Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,      Abandoned          Received by      Administered (FA)/
                                                                          Values              Less Liens, Exemptions,         OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                            and Other Costs)                                                Remaining Assets

17        Freedom Debt Relief, possible refund from debt s                    Unknown                                0.00                                  0.00                    FA
           Imported from original petition Doc# 1

18        2005 Toyota Avalon, Car is in name of Corporatio                        50.00                            50.00          OA                       0.00                    FA
           Imported from original petition Doc# 1

19        ADV. 17-425 FDCPA CLAIM AGAINST WELLS                               Unknown                            3,000.00                              3,450.00                    FA
          FARGO (u)
           8/22/17 - Motion to Compromise (Dkt. 40)

20        ADV. 17-426 AGAINST SUNTRUST (u)                                    Unknown                            3,000.00                              3,450.00                    FA

21        ADV. 17-424 AGAINST CAPITAL ONE (u)                                 Unknown                            3,000.00                                  0.00                    FA
           6/27/18 - Agreed Final Order Dismissing Adv.
          17-424 with prejudice (Adv. Dkt. 15)

 21      Assets      Totals (Excluding unknown values)                      $182,395.00                      $10,250.00                              $29,400.00                 $0.00



      Major Activities Affecting Case Closing:

                  TFR

                  12/28/16 - T received offer to purchase surrendered real property subject to liens;
                  1/10/17 - Application to Employ Counsel R. Dauval (Dkt. 11);
                  1/10/17 - Motion to Sell surrendered real property subject to liens (Dkt. 12);
                  1/10/17 - Order approving Application to Employ Counsel R. Dauval (Dkt. 13);
                  1/17/17 - Order granting stay relief re: surrendered real property (Dkt. 15);
                  1/26/17 - Response with conditional consent to auction sale provided gets paid in full (Dkt. 20);
                  1/27/17 - Notice of Hearing scheduled for 2/21/17 @ 9:30 a.m. on Motion to Sell (Dkt. 22);
                  2/2/17 - Agreed Order Granting T's Motion to Sell Real Property Subject to Liens (Dkt. 25);
                  2/7/17 - R. Dauval email to T that surrendered property sold at auction for $22,500;
                  2/7/17 - Email to T. Lash re: status of FDCPA claim;
                  2/17/17 - R. Dauval received closing package; will forward to T;
                  2/20/17 - T received closing package;
                  2/21/17 - T deposited proceeds from sale of real property;
                  3/13/17 - Application to Employ T. Lash for Special Purpose (Dkt. 29);
                  3/13/17 - Order approving Application to Employ T. Lash for Special Purpose (Dkt. 30); Cert. of Service (Dkt. 31)
                  3/23/17 - Trustee's Deed filed (Dkt. 23);
                  4/8/17 - CLAIMS REVIEWED; no objections necessary;
                  4/10/17 - T approved R. Dauval's draft fee application;
                  4/10/17 - R. Dauval's Fee Application (Dkt. 33);
                  5/11/17 - Order approving R. Dauval's Fee Application ( Dkt. 35);


                                                                                                                                                Printed: 07/09/2018 04:20 PM   V.14.03
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 8:16-bk-09932-RCT                                                               Trustee:         (290520)   DAWN A. CARAPELLA
Case Name:      HERNANDEZ, DAVID JUSTO                                                       Filed (f) or Converted (c): 11/21/16 (f)
                HERNANDEZ, IRENE                                                             §341(a) Meeting Date:       12/20/16
Period Ending: 07/09/18                                                                      Claims Bar Date:            04/07/17

                             1                                             2                              3                      4                   5                   6

                    Asset Description                                 Petition/              Estimated Net Value          Property               Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,    Abandoned               Received by     Administered (FA)/
                                                                       Values              Less Liens, Exemptions,       OA=§554(a)               the Estate      Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

               5/18/17 - Adv. Pro. 17-425 commenced against Wells Fargo;
               5/18/17 - Adv. Pro. 17-426 filed against SunTrust Bank;
               5/18/17 - Adv. pro. 17-424 filed against Capital One bank;
               5/26/17 - T paid R. Dauval per Order approving Fee Application;
               6/9/17 - T filed Amended Notice of Sale of real property to included closing statement (Dkt. 37);
               7/7/17 - Adv. Pro. 17-426 against SunTrust - Notice Scheduling Pre-Trial/ status Conference for August 1, 2017 at 10:30 a.m.;
               7/19/17 - Adv. Pro. 17-425 against Wells Fargo - Notice Scheduling Pre-Trial/status conference for Sept. 5, 2017 at 10:30 a.m.;
               7/23/17 - T sent signed settlement agreement back to T. Lash Re: Adv. Pro. 17-425 against Wells Fargo;
               8/1/17 - MOTION FOR INTERIM DISTRIBUTION sent to UST for approval;
               8/1/17 - Adv. Pro. 17-424 against Cap One: Pre-trial held and continued to 10/24/17 @ 10:30 a.m.;
               8/4/17 - T reviewed and approved fees and settlement with SunTrust;
               8/7/17 - Motion to Compromise Adv. 17-426 against SunTrust Bank (Dkt. 38);
               8/7/17 - Interim Fee App re: Adv. 17-426 filed by T. Lash (Dkt. 39);
               8/18/17 - T approved proposed settlement and fees re: Adv. ag. Wells Fargo;
               8/22/17 - Motion to Compromise Adv. 17-425 against Wells Fargo (Dkt. 40);
               8/22/17 - Fee Application of T. Lash (Dkt. 41);
               8/22/17 - TRUSTEE'S MOTION TO AUTHORIZE INTERIM DISTRIBUTIONS (Dkt. 42);
               8/22/17 - Notice of Motion for Interim Distributions (Dkt. 43);
               8/22/17 - Trustee's Application for Interim Compensation (Dkt. 44);
               8/22/17 - UST's statement of no objection to Motion for Interim Distribution (Dkt. 45);
               8/23/17 - T signed settlement agreement with SunTrust Bank re: Adv. Pro. 17-426 and returned to T. Lash;
               9/8/17 - Order Granting Motion to Approve Compromise of Adv. 17-426 (Dkt. 46);
               9/8/17 - Order approving Fee application re: Adv. Pro. 17-426 (Dkt. 47);
               9/25/17 - Order approving Fee Application re: Adv. Pro. 17-425 against Wells Fargo (Dkt. 50);
               9/25/17 - Order granting Motion to Compromise Adv. Pro. 17-425 ag. Wells Fargo (Dkt. 51);
               9/27/17 - Order granting Motion to Authorize Interim Distributions (Dkt. 54);
               9/27/17 - Cert. of Serv. on Order Granting Interim Distribution (Dkt. 55)
               9/29/17 - Order approving Application for Trustee's Interim Compensation (Dkt. 56);
               9/29/17 - Cert. of Serv. on Order Granting Interim Distribution (Dkt. 57);
               10/18/17 - INTERIM DISTRIBUTIONS;
               10/24/17 - T received net settlement funds from Adv. 17-425 and Adv. 17-426;
               Adv. 17-424 against Cap One - Pre-Trial continued to 12/12/17 @ 10:30 a.m.;
               12/12/17 - Pre--trial held in Adv. 17-424; Pre-Trial continued to 02/20/18 at 2:00 p.m.;
               2/20/18 - Pre-trial held in Adv. 17-424; Trial scheduled for 9/25/18 @ 10:00 a.m. (6 hrs. reserved);
               6/23/18 - Email to T. Lash for status of negotiations re: Adv. 17-424;
               6/25/18 - Response from T. Lash;
               6/25/18 - Adv. 17-424 against Cap1: Joint Stipulation for Order Dismissing Adversary Proceeding (Adv. Dkt. 14);
               6/27/18 - Adv. 17-424 against Cap 1: Agreed Final Order Dismissing Adversary Proceeding with prejudice (Adv. Dkt. 15);


                                                                                                                                               Printed: 07/09/2018 04:20 PM   V.14.03
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 8:16-bk-09932-RCT                                                           Trustee:        (290520)     DAWN A. CARAPELLA
Case Name:       HERNANDEZ, DAVID JUSTO                                                  Filed (f) or Converted (c): 11/21/16 (f)
                 HERNANDEZ, IRENE                                                        §341(a) Meeting Date:        12/20/16
Period Ending: 07/09/18                                                                  Claims Bar Date:             04/07/17

                              1                                         2                            3                      4                    5                     6

                    Asset Description                               Petition/             Estimated Net Value           Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,     Abandoned            Received by      Administered (FA)/
                                                                     Values             Less Liens, Exemptions,        OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                 Remaining Assets

                7/8/18 - Notice of Abandonment of vehicle and David Hernandez Financial Services, Inc. (Dkt. 59);
                7/9/18 - Case Closed.

     Initial Projected Date Of Final Report (TFR):     December 20, 2017                   Current Projected Date Of Final Report (TFR):       July 9, 2018 (Actual)




                                                                                                                                           Printed: 07/09/2018 04:20 PM    V.14.03
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                                                                                       Form 2                                                                                          Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         8:16-bk-09932-RCT                                                                    Trustee:            DAWN A. CARAPELLA (290520)
Case Name:           HERNANDEZ, DAVID JUSTO                                                               Bank Name:          Rabobank, N.A.
                     HERNANDEZ, IRENE                                                                     Account:            ******4566 - Checking Account
Taxpayer ID #:       **-***1628                                                                           Blanket Bond:       $26,930,000.00 (per case limit)
Period Ending: 07/09/18                                                                                   Separate Bond: N/A

   1             2                           3                                           4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                   T-Code              $                  $                Account Balance
02/21/17       {1}         Manzo & Associates, P.A.             proceeds from sale of real property (Order           1110-000             22,500.00                                 22,500.00
                                                                granting Motion to Sell Dkt. 25)
02/28/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        10.00          22,490.00
03/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        33.42          22,456.58
04/28/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        30.14          22,426.44
05/26/17       101         Richard M. Dauval, Esq.              5/11/17 - Order approving Fee Application            3210-000                                       998.00          21,428.44
                                                                (Dkt. 35)
05/26/17       102         Richard M. Dauval, Esq.              5/11/17 - Order approving Fee Application            3220-000                                        45.84          21,382.60
                                                                (Dkt. 35)
05/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        35.48          21,347.12
06/30/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        31.40          21,315.72
07/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        29.63          21,286.09
08/31/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        33.67          21,252.42
09/29/17                   Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                        29.54          21,222.88
10/18/17       103         DAWN A. CARAPELLA                    Dividend paid 100.00% on $5.86; 9/29/17              2200-000                                         5.86          21,217.02
                                                                Order auth. Interim Comp (Dkt 56)
10/18/17       104         Clerk of the U.S. Bankruptcy Court   9/27/17 - Order authorizing Interim Distribution     2700-000                                       350.00          20,867.02
                                                                (Dkt. 54) Dividend paid 100.00% on $350.00,
                                                                Clerk of the Court Costs (includes adversary
                                                                and other filing fees); Reference:
10/18/17       105         Clerk of the U.S. Bankruptcy Court   9/27/17 - Order authorizing Interim Distribution     2700-000                                       350.00          20,517.02
                                                                (Dkt. 54)Dividend paid 100.00% on $350.00,
                                                                Clerk of the Court Costs (includes adversary
                                                                and other filing fees); Reference:
10/18/17       106         Clerk of the U.S. Bankruptcy Court   9/27/17 - Order authorizing Interim Distribution     2700-000                                       350.00          20,167.02
                                                                (Dkt. 54)Dividend paid 100.00% on $350.00,
                                                                Clerk of the Court Costs (includes adversary
                                                                and other filing fees); Reference:
10/18/17       107         DAWN A. CARAPELLA                    9/29/17 - Order approving Interim                    2100-000                                   2,787.19            17,379.83
                                                                Compensation (Dkt. 56)Dividend paid 100.00%
                                                                on $2,787.19, Trustee Compensation;
                                                                Reference:
10/18/17       108         Capital One Bank (USA), N.A.         9/27/17 - Order authorizing Interim Distribution     7100-000                                       187.98          17,191.85
                                                                (Dkt. 54); Dividend paid 28.10% on $668.92;
                                                                Claim# 2 -1; Filed: $668.92; Reference:
10/18/17       109         Capital One Bank (USA), N.A.         9/27/17 - Order authoring Interim Distribution       7100-000                                   1,715.03            15,476.82
                                                                (Dkt. 54); Dividend paid 28.10% on $6,103.15;
                                                                Claim# 3 -1; Filed: $6,103.15; Reference:
10/18/17       110         Capital One Bank (USA), N.A.         9/27/17 - Order authorizing Interim Distribution     7100-000                                   5,383.01            10,093.81

                                                                                                            Subtotals :                 $22,500.00            $12,406.19
{} Asset reference(s)                                                                                                                              Printed: 07/09/2018 04:20 PM        V.14.03
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                                                                                                                                                                                       Exhibit B


                                                                                       Form 2                                                                                           Page: 2

                                                     Cash Receipts And Disbursements Record
Case Number:         8:16-bk-09932-RCT                                                                    Trustee:            DAWN A. CARAPELLA (290520)
Case Name:           HERNANDEZ, DAVID JUSTO                                                               Bank Name:          Rabobank, N.A.
                     HERNANDEZ, IRENE                                                                     Account:            ******4566 - Checking Account
Taxpayer ID #:       **-***1628                                                                           Blanket Bond:       $26,930,000.00 (per case limit)
Period Ending: 07/09/18                                                                                   Separate Bond: N/A

   1             2                           3                                           4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements            Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                   T-Code              $                   $               Account Balance
                                                                (Dkt. 54); Dividend paid 28.10% on
                                                                $19,156.16; Claim# 4 -1; Filed: $19,156.16;
                                                                Reference:
10/18/17       111         Capital One Bank (USA), N.A.         9/27/17 - Order authorizing Interim Distribution     7100-000                                    2,280.19              7,813.62
                                                                (Dkt. 54); Dividend paid 28.10% on $8,114.37;
                                                                Claim# 5 -1; Filed: $8,114.37; Reference:
10/18/17       112         Credit First NA                      9/27/17 - Order authorizing Interim Distribution     7100-000                                       175.29             7,638.33
                                                                (Dkt. 54); Dividend paid 28.10% on $623.80;
                                                                Claim# 6 -1; Filed: $623.80; Reference:
10/18/17       113         LVNV Funding, LLC its successors     9/27/17 - Order authorizing Interim Distribution     7100-000                                       563.64             7,074.69
                           and assigns as                       (Dkt. 54); Dividend paid 28.10% on $2,005.80;
                                                                Claim# 7 -1; Filed: $2,005.80; Reference:
10/18/17       114         PYOD, LLC its successors and         9/27/17 - Order authorizing Interim Distribution     7100-000                                       371.66             6,703.03
                           assigns as assignee                  ( Dkt. 54); Dividend paid 28.10% on
                                                                $1,322.62; Claim# 8 -1; Filed: $1,322.62;
                                                                Reference:
10/18/17       115         PYOD, LLC its successors and         9/27/17 - Order authorizing Interim Distribution     7100-000                                       363.52             6,339.51
                           assigns as assignee                  (Dkt. 54); Dividend paid 28.10% on $1,293.63;
                                                                Claim# 9 -1; Filed: $1,293.63; Reference:
10/18/17       116         Wells Fargo Bank, N.A.               9/27/17 - Order authorizing Interim Distribution     7100-000                                       910.16             5,429.35
                                                                (Dkt. 54); Dividend paid 28.10% on $3,238.93;
                                                                Claim# 10 -1; Filed: $3,238.93; Reference:
10/18/17       117         Wells Fargo Bank, N.A.               9/27/17 - Order authorizing Interim Distribution     7100-000                                       601.22             4,828.13
                                                                (Dkt. 54); Dividend paid 28.10% on $2,139.52;
                                                                Claim# 11 -1; Filed: $2,139.52; Reference:
10/18/17       118         PYOD, LLC its successors and         9/27/17 - Order authorizing Interim Distribution     7100-000                                       188.56             4,639.57
                           assigns as assignee                  (Dkt. 54); Dividend paid 28.10% on $671.02;
                                                                Claim# 12 -1; Filed: $671.02; Reference:
10/18/17       119         Synchrony Bank                       9/27/17 - Order authorizing Interim Distribution     7100-000                                       225.97             4,413.60
                                                                (Dkt. 54); Dividend paid 28.10% on $804.16;
                                                                Claim# 13 -1; Filed: $804.16; Reference:
10/18/17       120         Portfolio Recovery Associates, LLC   9/27/17 - Order authorizing Interim Distribution     7100-000                                    1,911.50              2,502.10
                                                                (Dkt. 54); Dividend paid 28.10% on $6,802.35;
                                                                Claim# 14 -1; Filed: $6,802.35; Reference:
10/18/17       121         Portfolio Recovery Associates, LLC   9/27/17 - Order authorizing Interim Distribution     7100-000                                       300.90             2,201.20
                                                                (Dkt. 54); Dividend paid 28.10% on $1,070.78;
                                                                Claim# 15 -1; Filed: $1,070.78; Reference:
10/18/17       122         Portfolio Recovery Associates, LLC   9/27/17 - Order authorizing Interim Distribution     7100-000                                       136.35             2,064.85
                                                                (Dkt. 54); Dividend paid 28.10% on $485.21;


                                                                                                            Subtotals :                        $0.00            $8,028.96
{} Asset reference(s)                                                                                                                              Printed: 07/09/2018 04:20 PM         V.14.03
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                                                                                                                                                                                 Exhibit B


                                                                                 Form 2                                                                                           Page: 3

                                                     Cash Receipts And Disbursements Record
Case Number:         8:16-bk-09932-RCT                                                             Trustee:              DAWN A. CARAPELLA (290520)
Case Name:           HERNANDEZ, DAVID JUSTO                                                        Bank Name:            Rabobank, N.A.
                     HERNANDEZ, IRENE                                                              Account:              ******4566 - Checking Account
Taxpayer ID #:       **-***1628                                                                    Blanket Bond:         $26,930,000.00 (per case limit)
Period Ending: 07/09/18                                                                            Separate Bond: N/A

   1             2                          3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From              Description of Transaction                   T-Code              $                  $               Account Balance
                                                          Claim# 16 -1; Filed: $485.21; Reference:
10/24/17                   Thomas A. Lash, Esq.           net proceeds from Adv. 17-426/SunTrust                                      1,500.00                                   3,564.85
                                                          (9/8/17 Order approving compromise Dkt. 46)
               {20}                                          gross settlement Adv.             3,450.00       1249-000                                                           3,564.85
                                                             17-426 (9/8/17 Order
                                                             Dkt. 46)
                              Thomas A. Lash, Esq.           9/8/17 - Order approving         -1,950.00       3210-002                                                           3,564.85
                                                             Fee App (Dkt. 47)
10/24/17                   Lash Wilcox & Grace, PL        net proceeds re: Adv. 17-425/ Wells Fargo                                   1,500.00                                   5,064.85
                                                          (9/25/17 Order approving Compromise Dkt. 51)
               {19}                                          Gross proceeds re Adv.            3,450.00       1249-000                                                           5,064.85
                                                             17-425 (9/25/17 Order
                                                             Dkt. 51)
                              Thomas A. Lash, Esq.           9/25/17 - Order                  -1,950.00       3210-002                                                           5,064.85
                                                             approving Fee App (Dkt.
                                                             50)
10/31/17                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         31.84             5,033.01
11/30/17                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             5,023.01
12/29/17                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             5,013.01
01/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             5,003.01
02/28/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             4,993.01
03/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             4,983.01
04/30/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             4,973.01
05/31/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             4,963.01
06/29/18                   Rabobank, N.A.                 Bank and Technology Services Fee                    2600-000                                         10.00             4,953.01

                                                                                 ACCOUNT TOTALS                                      25,500.00             20,546.99          $4,953.01
                                                                                         Less: Bank Transfers                             0.00                  0.00
                                                                                 Subtotal                                            25,500.00             20,546.99
                                                                                         Less: Payments to Debtors                                              0.00
                                                                                 NET Receipts / Disbursements                      $25,500.00            $20,546.99




{} Asset reference(s)                                                                                                                         Printed: 07/09/2018 04:20 PM        V.14.03
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                                                                                                                                                                   Exhibit B


                                                                       Form 2                                                                                       Page: 4

                                                  Cash Receipts And Disbursements Record
Case Number:         8:16-bk-09932-RCT                                                 Trustee:            DAWN A. CARAPELLA (290520)
Case Name:           HERNANDEZ, DAVID JUSTO                                            Bank Name:          Rabobank, N.A.
                     HERNANDEZ, IRENE                                                  Account:            ******4566 - Checking Account
Taxpayer ID #:       **-***1628                                                        Blanket Bond:       $26,930,000.00 (per case limit)
Period Ending: 07/09/18                                                                Separate Bond: N/A

   1             2                         3                            4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                              Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From     Description of Transaction              T-Code              $                  $               Account Balance


                                                                                                                         Net             Net                    Account
                                                                      TOTAL - ALL ACCOUNTS                             Receipts     Disbursements               Balances

                                                                      Checking # ******4566                            25,500.00             20,546.99             4,953.01

                                                                                                                     $25,500.00            $20,546.99           $4,953.01




{} Asset reference(s)                                                                                                           Printed: 07/09/2018 04:20 PM        V.14.03
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                                          Exhibit "C" - Claims Analysis
                       Case: 8:16-bk-09932-RCT                       HERNANDEZ, DAVID JUSTO
                                                                                                            Claims Bar Date:    04/07/17
 Claim   Claimant Name /                        Claim Type/    Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority                   Date Filed     Notes                   Allowed                 to Date          Balance
 1 -1    SunTrust Bank                          Secured                                $146,750.81                   $0.00            $0.00
         Attn: Support Services                 01/11/17                                       $0.00
         P.O. Box 85092                                        SCHEDULED; DOCUMENTATION ATTACHED; VALID SECURED
         Richmond, VA 23286                                    CLAIM BUT NO DISTRIBUTION


         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100
         DAWN A. CARAPELLA                      Admin Ch. 7                                   $82.05                 $5.86           $76.19
         P.O. Box 67                            11/21/16                                      $82.05
         Valrico, FL 33595-0067
         <2200-00 Trustee Expenses>, 200
         Richard M. Dauval, Esq.                Admin Ch. 7                               $998.00               $998.00               $0.00
         Leavengood, Dauval, Boyle & Meyer,     11/21/16                                  $998.00
         P.A.                                                  4/10/17 - Fee Application (Dkt. 33);
         3900 First Street North, Suite 100                    5/11/17 - Order approving Fee Application (Dkt. 35)
         St. Petersburg, FL 33703
         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
         Richard M. Dauval, Esq.                Admin Ch. 7                                   $45.84             $45.84               $0.00
         Leavengood, Dauval, Boyle & Meyer,     11/21/16                                      $45.84
         P.A.                                                  4/10/17 - Fee Application (Dkt. 33);
         3900 First Street North, Suite 100                    5/11/17 - Order approving Fee Application (Dkt. 35)
         St. Petersburg, FL 33703
         <3220-00 Attorney for Trustee Expenses (Other Firm)>, 200
         Clerk of the U.S. Bankruptcy Court     Admin Ch. 7                               $350.00               $350.00               $0.00
         801 N. Florida Ave., Suite 555         11/21/16                                  $350.00
                                                               Deferred filing fee for Adv. 17-425 against Wells Fargo Bank, N.A.
         Tampa, FL 33602
         <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>, 200
         Clerk of the U.S. Bankruptcy Court     Admin Ch. 7                               $350.00               $350.00               $0.00
         801 N. Florida Ave., Suite 555         11/21/16                                  $350.00
                                                               Deferred filing fee for Adv. 17-424 against Capital One Bank
         Tampa, FL 33602
         <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>, 200
         Clerk of the U.S. Bankruptcy Court     Admin Ch. 7                               $350.00               $350.00               $0.00
         801 N. Florida Ave., Suite 555         11/21/16                                  $350.00
                                                               Deferred filing fee for Adv. 17-426 against SunTrust Bank
         Tampa, FL 33602
         <2700-00 Clerk of the Court Costs (includes adversary and other filing fees)>, 200
         DAWN A. CARAPELLA                      Admin Ch. 7                              $3,300.00            $2,787.19             $512.81
         P.O. Box 67                            11/21/16                                 $3,300.00
         Valrico, FL 33595-0067
         <2100-00 Trustee Compensation>, 200
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                                        Exhibit "C" - Claims Analysis
                       Case: 8:16-bk-09932-RCT                     HERNANDEZ, DAVID JUSTO
                                                                                                          Claims Bar Date:      04/07/17
 Claim   Claimant Name /                      Claim Type/    Claim Ref./        Amount Filed/                 Paid               Claim
Number   <Category>, Priority                 Date Filed     Notes                  Allowed                  to Date            Balance
         Thomas A. Lash, Esq.                 Admin Ch. 7                             $1,950.00             $1,950.00                $0.00
         Lash Wilcox & Grace, PL              11/21/16                                $1,950.00
         4950 W. Kennedy Blvd., Suite 320                    8/22/17 - Fee Application re: Adv. 17-425 (Dkt. 41)
         Tampa, FL 33609                                     9/25/17 - Order approving Fee Application re: Adv. 17-425 (Dkt. 50)


         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
         Thomas A. Lash, Esq.                 Admin Ch. 7                             $1,950.00             $1,950.00                $0.00
         Lash Wilcox & Grace, PL              11/21/16                                $1,950.00
         4950 W. Kennedy Blvd., Suite 320                    9/8/17 - Order approving Fee Application re: Adv. 17-426 against
         Tampa, FL 33609                                     SunTrust Bank (Dkt. 47)


         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
 2 -1    Capital One Bank (USA), N.A.         Unsecured                                 $668.92               $187.98              $480.94
         PO Box 71083                         01/27/17                                  $668.92
                                                             ACCT. 7203 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Charlotte, NC 28272-1083
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3 -1    Capital One Bank (USA), N.A.         Unsecured                               $6,103.15             $1,715.03           $4,388.12
         PO Box 71083                         01/27/17                                $6,103.15
                                                             ACCT. 8516 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Charlotte, NC 28272-1083
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4 -1    Capital One Bank (USA), N.A.         Unsecured                              $19,156.16             $5,383.01        $13,773.15
         PO Box 71083                         01/27/17                               $19,156.16
                                                             ACCT. 1752 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Charlotte, NC 28272-1083
         <7100-00 General Unsecured § 726(a)(2)>, 610
 5 -1    Capital One Bank (USA), N.A.         Unsecured                               $8,114.37             $2,280.19           $5,834.18
         PO Box 71083                         01/27/17                                $8,114.37
                                                             ACCT. 9709 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Charlotte, NC 28272-1083
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6 -1    Credit First NA                      Unsecured                                 $623.80               $175.29              $448.51
         PO Box 818011                        02/08/17                                  $623.80
                                                             ACCT. 7106 HISTORY ATTACHED; SCHEDULED; VALID CLAIM
         Cleveland, OH 44181
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7 -1    LVNV Funding, LLC its successors and Unsecured                               $2,005.80               $563.64           $1,442.16
         assigns as                            02/09/17                               $2,005.80
         assignee of FNBM, LLC                               CREDIT ONE BANK SCHEDULED FOR APPROX. SAME AMT.;
         Resurgent Capital Services,PO Box 10587             VALID CLAIM
         Greenville, SC 29603-0587
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                                        Exhibit "C" - Claims Analysis
                      Case: 8:16-bk-09932-RCT                    HERNANDEZ, DAVID JUSTO
                                                                                                    Claims Bar Date:   04/07/17
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/           Paid             Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed            to Date          Balance
         <7100-00 General Unsecured § 726(a)(2)>, 610
 8 -1    PYOD, LLC its successors and assigns Unsecured                             $1,322.62          $371.66          $950.96
         as assignee                           02/22/17                             $1,322.62
         of Citibank, N.A.                                  ACCT. 3783 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Resurgent Capital Services,PO Box 19008
         Greenville, SC 29602
         <7100-00 General Unsecured § 726(a)(2)>, 610
 9 -1    PYOD, LLC its successors and assigns Unsecured                             $1,293.63          $363.52          $930.11
         as assignee                          02/22/17                              $1,293.63
         of Citibank, N.A.                                  ACCT. 2980 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Resurgent Capital Services,PO Box 19008
         Greenville, SC 29602
         <7100-00 General Unsecured § 726(a)(2)>, 610
 10 -1   Wells Fargo Bank, N.A.               Unsecured                             $3,238.93          $910.16         $2,328.77
         Wells Fargo Card Services            03/27/17                              $3,238.93
         PO Box 10438, MAC F8235-02F                        ACCT. 7871 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Des Moines, IA 50306-0438
         <7100-00 General Unsecured § 726(a)(2)>, 610
 11 -1   Wells Fargo Bank, N.A.               Unsecured                             $2,139.52          $601.22         $1,538.30
         Wells Fargo Card Services            03/27/17                              $2,139.52
         PO Box 10438, MAC F8235-02F                        ACCT. 7140 SCHEDULED FOR APPROX. SAME AMT.; VALID CLAIM
         Des Moines, IA 50306-0438
         <7100-00 General Unsecured § 726(a)(2)>, 610
 12 -1   PYOD, LLC its successors and assigns Unsecured                              $671.02           $188.56          $482.46
         as assignee                           03/28/17                              $671.02
         of Citibank, N.A.                                  HOME DEPOT SCHEDULED FOR APPROX. SAME AMT.; VALID
         Resurgent Capital Services,PO Box 19008            CLAIM
         Greenville, SC 29602
         <7100-00 General Unsecured § 726(a)(2)>, 610
 13 -1   Synchrony Bank                       Unsecured                              $804.16           $225.97          $578.19
         c/o PRA Receivables Management, LLC 03/28/17                                $804.16
         PO Box 41021                                       CARE CREDIT SCHEDULED FOR APPROX. SAME AMT.; VALID
         Norfolk, VA 23541                                  CLAIM


         <7100-00 General Unsecured § 726(a)(2)>, 610
 14 -1   Portfolio Recovery Associates, LLC   Unsecured                             $6,802.35        $1,911.50         $4,890.85
         POB 41067                            04/06/17                              $6,802.35
                                                            SEARS ACCT. 0799 STATEMENTS ATTACHED; SCHEDULED FOR
         Norfolk, VA 23541                                  APPROX. SAME AMT.; VALID CLAIM


         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                        Exhibit "C" - Claims Analysis
                      Case: 8:16-bk-09932-RCT                    HERNANDEZ, DAVID JUSTO
                                                                                                      Claims Bar Date:   04/07/17
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/             Paid             Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed              to Date          Balance
 15 -1   Portfolio Recovery Associates, LLC   Unsecured                             $1,070.78            $300.90           $769.88
         POB 41067                            04/06/17                              $1,070.78
                                                            CITIBANK ACCT. 2825 STATEMENTS ATTACHED; SCHEDULED
         Norfolk, VA 23541                                  FOR HIGHER AMT.; VALID CLAIM


         <7100-00 General Unsecured § 726(a)(2)>, 610
 16 -1   Portfolio Recovery Associates, LLC   Unsecured                              $485.21             $136.35           $348.86
         POB 41067                            04/07/17                               $485.21
                                                            SYNCHRONY/ STEIN MART SCHEDULED FOR APPROX. SAME
         Norfolk, VA 23541                                  AMT.; VALID CLAIM


         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                                Case Total:           $24,101.87         $39,774.44
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                                 TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

            Case No.: 8:16-bk-09932-RCT
            Case Name: HERNANDEZ, DAVID JUSTO
            Trustee Name: DAWN A. CARAPELLA
                                               Balance on hand:                            $           4,953.01
             Claims of secured creditors will be paid as follows:

 Claim        Claimant                               Claim Allowed Amount Interim Payments             Proposed
 No.                                               Asserted       of Claim          to Date            Payment
   1 -1      SunTrust Bank                     146,750.81                 0.00                 0.00           0.00
                                               Total to be paid to secured creditors:      $               0.00
                                               Remaining balance:                          $           4,953.01

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments        Proposed
                                                                                        to Date       Payment
Trustee, Fees - DAWN A. CARAPELLA                                     3,300.00           2,787.19           512.81
Trustee, Expenses - DAWN A. CARAPELLA                                    82.05                 5.86          76.19
Attorney for Trustee, Fees - Richard M. Dauval, Esq.                    998.00            998.00              0.00
Attorney for Trustee, Expenses - Richard M. Dauval, Esq.                 45.84             45.84              0.00
Charges, U.S. Bankruptcy Court                                        1,050.00           1,050.00             0.00
Attorney for Trustee Fees - Thomas A. Lash, Esq.                      3,900.00           3,900.00             0.00
                           Total to be paid for chapter 7 administration expenses:         $             589.00
                           Remaining balance:                                              $           4,364.01

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments        Proposed
                                                                                        to Date       Payment
                                                       None
                           Total to be paid for prior chapter administrative expenses:     $               0.00
                           Remaining balance:                                              $           4,364.01




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $            4,364.01
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 54,500.42 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 36.1 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  2 -1         Capital One Bank (USA), N.A.                              668.92            187.98             53.56
  3 -1         Capital One Bank (USA), N.A.                            6,103.15          1,715.03            488.69
  4 -1         Capital One Bank (USA), N.A.                           19,156.16          5,383.01          1,533.89
  5 -1         Capital One Bank (USA), N.A.                            8,114.37          2,280.19            649.74
  6 -1         Credit First NA                                           623.80            175.29             49.95
  7 -1         LVNV Funding, LLC its successors and                    2,005.80            563.64            160.61
               assigns as
  8 -1         PYOD, LLC its successors and assigns as                 1,322.62            371.66            105.91
               assignee
  9 -1         PYOD, LLC its successors and assigns as                 1,293.63            363.52            103.58
               assignee
 10 -1         Wells Fargo Bank, N.A.                                  3,238.93            910.16            259.35
 11 -1         Wells Fargo Bank, N.A.                                  2,139.52            601.22            171.32
 12 -1         PYOD, LLC its successors and assigns as                   671.02            188.56             53.73
               assignee
 13 -1         Synchrony Bank                                            804.16            225.97             64.40
 14 -1         Portfolio Recovery Associates, LLC                      6,802.35          1,911.50            544.69

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 15 -1         Portfolio Recovery Associates, LLC                     1,070.78           300.90               85.74
 16 -1         Portfolio Recovery Associates, LLC                        485.21          136.35               38.85
                            Total to be paid for timely general unsecured claims:         $            4,364.01
                            Remaining balance:                                            $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




  UST Form 101-7-TFR (05/1/2011)
